Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 1 of 22



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 09-61164-CIV-UNGARO/SIMONTON


  JEFFREY D. BIANCHI,

         Plaintiff,

  v.

  BRONSON & MIGLIACCIO, LLP,

         Defendant.
                                       /

              REPORT AND RECOMMENDATION RE: PLAINTIFF’S VERIFIED MOTION
                     FOR AN AWARD OF COSTS AND ATTORNEY’S FEES

         Presently pending before the Court is Plaintiff’s Verified Motion for an Award of

  Costs and Attorney’s Fees (DE # 74). Defendant Bronson & Migliaccio, LLP (“Bronson”)

  has filed a Response to Plaintiff’s Motion for Attorney’s Fees and Costs (DE # 82), and

  Plaintiff has filed a Reply (DE # 83) and a Supplemental Declaration (DE # 84). Plaintiff’s

  Motion has been referred to the undersigned Magistrate Judge (DE # 77). A brief hearing

  was held on February 1, 2011.1 Following a careful review of the record as a whole and

  for the reasons stated herein, the undersigned recommends that Plaintiff’s Verified

  Motion for an Award of Costs and Attorney’s Fees be GRANTED in part and DENIED in

  part, and that Plaintiff be awarded attorney’s fees in the amount of $15,648.50 and costs

  in the amount of $4,463.19, for a total award of $20,111.69.

         I.       BACKGROUND

         In a nine-count complaint, Plaintiff Jeffrey D. Bianchi alleged violations by

  Bronson of the Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692–1692p (“FDCPA”)


         1
           The purpose of this hearing w as to have counsel describe the “trial boards” for which he
  sought reimbursement.
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 2 of 22



  (Counts I–V), the Florida Consumer Collection Practices Act, Fla. Stat. §§ 559.55–559.785

  (“FCCPA”) (Counts VI and VII), and the Telephone Consumer Protection Act, 47 U.S.C. §

  227 (“TCPA”) (Count VIII) (DE # 1).2 Specifically, Plaintiff alleged that Defendant, a debt

  collector, sought to collect on an alleged debt owed by Plaintiff by leaving an excessive

  number of voicemail messages on Plaintiff’s cellular phone. These messages were

  prerecorded without Plaintiff’s consent to such calls, failed to disclose certain

  information about Defendant or created a false sense of emergency (DE # at 2-6).

  Following a jury trial, the Court entered a Final Judgment based on the jury’s verdict,

  awarding Plaintiff $39,000 for Defendant’s violations of the FDCPA, FCCPA and TCPA

  (DE # 60, 64). The Court reserved jurisdiction for determining Plaintiff’s attorney’s fees

  and costs (DE # 64).

         Following the entry of judgment, Plaintiff moved for the clerk to issue a writ of

  garnishment against HSBC Bank USA, NA (“Garnishee”), which holds property of

  Defendant (DE # 66). On the same day Garnishee filed its answer to the writ, Plaintiff

  moved for judgment against Garnishee (DE # 69, 70). Defendant subsequently filed a

  response to Garnishee’s answer, alleging that the funds held by Garnishee for

  Defendant were property Defendant held in trust for its clients (DE # 71). Defendant

  consequently moved to dissolve the writ (DE # 72), which this Court granted (DE # 80).

         In the instant motion for attorney’s fees and costs, Plaintiff originally requested

  an award of $22,475.86, based upon his claim for $16,800.00 in attorney’s fees (48 hours

  X $350 per hour) and costs in the amount of $5,675.86 (DE # 74 at 2-3). Plaintiff notes

  that his fee agreement with counsel provided for the greater of 40% of any recovery or



         2
            In Count IX, Plaintiff sought declaratory and injunctive relief, pursuant to 28 U.S.C. §§
  2201 and 2202, in connection with the alleged TCPA and FCCPA violations (DE # 1 at 11-12).
  Plaintiff withdrew request for such relief after the jury’s verdict (DE # 64 at 1).
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 3 of 22



  $350 per hour plus costs incurred (DE # 74 at 3). Plaintiff also stated that he was entitled

  to attorney’s fees and costs incurred in litigating the Motion for Attorney’s Fees; and

  that, once the briefing was completed on this Motion, he would file a supplemental

  Declaration with respect to the amount claimed (DE # 74 at 3). Plaintiff thereafter

  submitted a Supplemental Declaration (DE # 84) in which he requested additional

  compensation in the amount of $2,083.00 for 6.38 additional hours of work, which is

  addressed separately below in Section IV.

         II.     ATTORNEY’S FEES

         For the reasons stated below, with respect to the initial Motion for Attorney’s

  Fees, the undersigned concludes that Plaintiff is entitled to an award of attorney’s fees

  and costs as the prevailing party; but that the reasonable value of attorney’s fees equals

  $14,259.00, rather than $16,800.00 as requested by Plaintiff.

         A.      Entitlement to Fees and Costs

         A prevailing plaintiff in an FDCPA or FCCPA suit is entitled to recover attorney’s

  fees and costs, based upon the plain language of the respective statutes.3 Under both, a

  debt collector is liable to the prevailing plaintiff for court costs and reasonable

  attorney’s fees. 15 U.S.C.A. § 1692k(a)(3) (West 2010); see, e.g., Hollis v. Roberts, 984

  F.2d 1199, 1161 (11th Cir. 1993); Fla. Stat. § 559.77(2) (2010); see, e.g., R. Martin

  Salzgeber, D.D.S., P.A. v. Kelly, 826 So.2d. 366, 367 (Fla.2d.Dist.Ct.App.2002). The

  reasonableness of these costs and fees shall be determined by the court. 15 U.S.C.A. §

         3
            The Florida legislature through the FCCPA expresses its intent that the FCCPA be read as
  providing regulations that complement the FDCPA. Specifically, the FCCPA notes that any
  discrepancy betw een the tw o acts should be construed as to provide the consumer (or debtor) the
  greatest protection. Fla. Stat. § 559.552 (2010). In regard to applying and construing civil
  remedies pursuant to the FCCPA, including attorney’s fees, “due consideration and great weight”
  is to be given to interpretations of the Federal Trade Commission and federal courts relating to the
  FDCPA. Fla. Stat. § 559.77 (2010).

                                                   3
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 4 of 22



  1692k(a)(3) (West 2010); see, e.g., Hollis, 984 F.2d at 1161. In the instant matter,

  Defendant takes issue with the amount and type of fees and costs Plaintiff has

  requested, but the parties do not dispute that Mr. Bianchi is a prevailing plaintiff entitled

  to attorney’s fees and costs under these rules. The undersigned, therefore, concludes

  that Plaintiff is entitled to an award of attorney’s fees and costs as the prevailing party in

  this lawsuit.

         B.       The Lodestar Method

         Under the lodestar method applied by the courts in this Circuit, attorneys’ fees

  are calculated by multiplying a reasonable hourly rate by a reasonable number of hours

  expended. See Gray v. Lockheed Aeronautical Sys. Co., 125 F.3d 1387, 1389 (11th Cir.

  1997); Norman v. Housing Auth. of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988);

  Cuban Museum of Arts & Culture, Inc. v. City of Miami, 771 F. Supp. 1190, 1191 (S.D. Fla.

  1991). Plaintiff bears the burden of documenting reasonable hours expended and

  reasonable hourly rates. See ACLU v. Barnes, 168 F.3d 423, 427 (11th Cir. 1999).

  Plaintiff must also supply detailed evidence of the hourly rates and time expended so

  that this Court may properly assess the time claimed for each activity. See id. at 427;

  Norman, 836 F.2d at 1303.

         C.       Reasonable Hourly Rate

                  1.    The Parties’ Positions

         In his Declaration in Support of Plaintiff’s Motion, Mr. Yarbrough, Plaintiff’s

  counsel, argues that his reasonable rate is $350 per hour (DE # 76 at 4-5). In support, he

  notes that in several earlier cases he has been awarded a rate of $300 per hour (DE # 76

  at 5-6). He asserts, however, that he has been practicing for 11 years and has more

  recently been awarded a rate of $350 per hour (DE # 76 at 5; DE # 84). Mr. Yarbrough

                                                 4
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 5 of 22



  concludes that the higher rate is reasonable given his years of experience in this type of

  litigation (DE # 75 at 6-7). Defendant has not objected to Mr. Yarbrough’s hourly rate.

                2.      Legal Standards

         This Court must first determine whether the fee applicant has satisfied the burden

  of establishing that his requested hourly rate is reasonable. “A reasonable hourly rate is

  the prevailing market rate in the relevant legal community for similar services by lawyers

  of reasonably comparable skills, experience and reputation.” Norman, 836 F.2d at 1299.

  With respect to the issue of hourly rates, this Court “is itself an expert on the question

  and may consider its own knowledge and experience concerning reasonable and proper

  fees and may form an independent judgment either with or without the aid of witnesses

  as to value.” Id. at 1303; accord Tyler v. Westway Auto. Serv. Ctr., Inc., No. 02-61667-CIV,

  2005 WL 6148128, at *2 (S.D. Fla. Mar. 10, 2005) (quoting Loranger v. Stierheim, 10 F.3d

  776, 781 (11th Cir. 1994)).

                3.      Analysis

         Based upon the Court’s own knowledge and experience, as well as a review of the

  cited authorities, a reasonable hourly rate for an attorney with Mr. Yarbrough’s

  experience in a case such as this is between $250 and $350 per hour. The undersigned

  agrees with the court’s assessment in Sclafani, which was issued less than a year ago –

  namely, that although Mr. Yarbrough has experience with these types of cases, this

  particular case was not “novel or difficult.” See Sclafani v. I.C. Systems, Inc., No. 09-

  60174-CIV, slip op. at 2 (S.D. Fla. March 18, 2010) (awarding Mr. Yarbrough $300 per hour

  in a case alleging similar FDCPA, FCCPA and TCPA violations when he had requested

  $350 per hour). With regard to the cases cited by Mr. Yarbrough in which he was

  awarded $350 per hour, the undersigned notes that the related fees motions were

                                                5
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 6 of 22



  unopposed and the rate not challenged. Similarly, in the case at bar, since Defendant’s

  counsel has not challenged the hourly rate of $350 charged by Mr. Yarbrough, the

  undersigned will award fees at that rate.

         D.     Reasonable Hours Expended

                1.     The Parties’ Positions

         Defendant makes four arguments for reducing the hours Plaintiff claims as

  reasonably expended. First, according to the Defendant, some of Mr. Yarbrough’s

  itemized time entries provide insufficient detail (DE # 82 at 1). For example, one entry

  only contains a one-word description, “review,” without further explanation (DE # 82 at

  2). Second, with regard to specific entries, Defendant contends that Mr. Yarbrough’s

  teleconference with Manny Newberger regarding CACH, LLC (“CACH”) must be denied

  because CACH was not a party or a witness in the case, and the entry does not indicate

  the way in which this conversation advanced the case (DE # 82 at 2). Third, Defendant

  objects to any entries concerning the writ of garnishment since Mr. Yarbrough failed to

  follow proper procedures in seeking the writ (DE # 82 at 2). Finally, Defendant argues

  that, after the cuts noted above, the overall hours total should be reduced another 50%

  because the TCPA claim, which Plaintiff acknowledges does not call for statutory

  attorney’s fees, formed a significant component of Plaintiff’s suit (DE # 82 at 2-3).

         Plaintiff replies to each of Defendant’s arguments. First, Plaintiff concedes that

  certain entries do not provide sufficient detail and waives any challenge to eliminating

  such entries from the total hours calculation (DE # 83 at 1-2). Second, Plaintiff defends

  the value of Mr. Yarbrough’s teleconference with Mr. Newberger as relevant to Mr.

  Bianchi’s case. Specifically, Mr. Yarbrough claims to have discussed with Mr.

  Newberger CACH’s exposure to vicarious liability due to Bronson’s violative actions

                                                6
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 7 of 22



  taken while representing CACH, and Plaintiff considered adding CACH as a defendant in

  this action (DE # 83 at 2). Third, Plaintiff contends that his actions taken to garnish

  Defendant’s bank accounts when no amount had yet been paid on the judgment

  constituted an appropriate and reasonable activity, and Plaintiff did not know that such

  accounts held Defendant’s clients’ property prior to taking such action (DE # 83 at 2-3).

  Finally, as to a general additional reduction of hours, Plaintiff notes that he had already

  preemptively reduced the total hours requested by one-third in his motion for costs and

  fees because of the TCPA claim (DE # 74 at 2). He additionally replies that all of his

  claims arose from the same collection of facts, so that Mr. Yarbrough would have spent

  the same amount of time on Plaintiff’s case regardless of the TCPA claim that does not

  provide for statutory attorney’s fees relief (DE # 83 at 3-4).

                2.      Legal Standards

        Counsel must use “billing judgment” and exclude “excessive, redundant, or

 otherwise unnecessary” hours from any fee petition, Hensley v. Eckerhart, 461 U.S. 424,

 434 (1983), “irrespective of the skill, reputation or experience of counsel.” Barnes, 168

 F.3d at 428. First, the fee applicant bears the initial burden of submitting evidence

 sufficient to allow the court to confirm that the requested fees are not excessive, and

 then, “‘objections and proof from fee opponents’ concerning hours that should be

 excluded must be specific and ‘reasonably precise.’” Id. at 428 (quoting Norman, 836 F.2d

 at 1301). “When a district court finds the number of hours claimed is unreasonably high,

 the court has two choices: it may conduct an hour-by-hour analysis or it may reduce the

 requested hours with an across-the-board cut.” Bivins v. Wrap it Up, Inc., 548 F.3d 1348,

 1350 (11th Cir. 2008) (citing Loranger, 10 F.3d at 783).



                                                 7
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 8 of 22



                3.      Analysis

                a.      Vague Time Entries

        Defendant takes issue with 11 time entries that it contends are too vague to

 determine whether the entries qualify under the fees statutes (DE # 82 at 1-2). These

 entries provide one-word descriptions of how Mr. Yarbrough spent his time, such as

 “review,” “meeting,” “prepare,” or brief descriptions such as “draft correspondence.”

 Plaintiff concedes and waives any argument against eliminating these entries (DE # 83 at

 1-2). Thus, the undersigned concludes that it is appropriate to reduce the total hours

 amount and recommends that 5.88 hours consisting of these 11 entries be eliminated

 from the requested total hours.4

                b.      CACH Teleconference With Mr. Newberger

        Defendant contends that the time entry concerning Mr. Yarbrough’s teleconference

 with Mr. Newberger must be stricken because Mr. Yarbrough did not provide sufficient

 detail as to how such a conversation was relevant to Mr. Bianchi’s claims. In addition,

 CACH was neither a party nor a witness in the case (DE # 82 at 2). In Mr. Yarbrough’s

 Declaration, he notes that the teleconference concerned, inter alia, the “Motion to Compel

 Defendant’s Insurance Policy [and] Contract with CACH” (DE # 76 Ex. A at 2).

 Additionally, in Plaintiff’s Reply, Plaintiff provides a rationale in support of the relevance

 of this time entry. Specifically, Plaintiff states that CACH expressed concern about its

 vicarious liability because Bronson was representing CACH when Bronson committed the

 violations at issue in this case. Accordingly, Plaintiff had considered amending his

 complaint to add CACH as a defendant (DE # 83 at 2). The conversations at issue related


         4
          Plaintiff incorrectly totaled these entries to be 4.3 hours in his Reply but identified the
  same 11 entries.

                                                     8
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 9 of 22



 to a possible settlement of this action by CACH, LLC due to concerns over the financial

 condition of Defendant. This rationale reveals Mr. Yarbrough’s efforts to identify all

 parties liable to Mr. Bianchi and satisfy himself regarding any potential for other theories

 of liability bearing on Mr. Bianchi’s claims. Based upon the detail of this time entry

 provided by Plaintiff in the Declaration of Mr. Yarbrough (DE # 76 Ex. A at 4), and the

 rationale Plaintiff has provided in support of this time entry, the undersigned concludes

 that Plaintiff properly included this time entry as this time was “reasonably expended” in

 pursuing Mr. Bianchi’s claims. See Hensley, 461 U.S. at 434.

               c.     Writ of Garnishment Time Entries

        Courts have noted that a prevailing plaintiff in an FDCPA suit may be awarded

 attorney’s fees for post-judgment efforts to enforce awards. See, e.g., DiFrancesco v.

 Home Furniture Liquidators Inc., No. 06-21709-CIV, slip op. at 5 (S.D. Fla. Jan. 6, 2009),

 citing Nunez v. Interstate Corporate Sys. Inc., 799 P.2d 30, 31-32 (Ariz. Ct. App. 1990)).

 Specifically, cases involving other federal statutes authorizing attorney’s fees have

 provided awards for unsuccessful post-judgment garnishment actions. See, e.g., Free v.

 Briody, 793 F.2d 807, 808-809 (7th Cir. 1986) (finding no statutory reason in an ERISA

 action to limit award by distinguishing between pre- and post-judgment attorneys’ fees in

 case where losing defendant had thus far successfully hidden property to avoid

 garnishment). As the Nunez court reasoned, disallowing attorney’s fees incurred seeking

 execution of an FDCPA judgment would discourage small claimants from bringing

 actions to end abusive practices, which would run afoul of the statute and Congressional

 intent. Nunez, 799 P.2d at 31-32.

        At the same time, prevailing parties pursuing post-judgment remedies must still

 meet the Hensley requirement of, inter alia, avoiding unnecessary actions. Florida

                                                9
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 10 of 22



  garnishment procedures require that a plaintiff serve upon defendant, within five days

  after a garnishee’s answer to a writ of garnishment, a copy of such answer and notice

  advising a defendant that he or she must move to dissolve the writ within 20 days of such

  service. See Fla. Stat. § 77.055 (2010).5 In this case, Mr. Yarbrough emphasizes his

  client’s entitlement to seek post-judgment satisfaction but does not respond to

  Defendant’s contention that he did not follow proper procedures in doing so (DE # 82 at

  2, 83 at 2-3). Mr. Yarbrough invested time preparing and filing a motion for judgment

  against Garnishee the same day Garnishee answered the writ of garnishment, without

  providing Defendant a copy of Garnishee’s answer, or allowing Defendant an opportunity

  to first move to dissolve the writ of garnishment (DE # 69, 70). On the other hand,

  Plaintiff asserts that Defendant failed to confer with Plaintiff before filing its motion to

  dissolve the writ of garnishment, as required by Local Rule 7.1(a)(3), and that Plaintiff

  would not have opposed the motion to dissolve (DE # 78 at 1). Defendant alleged in its

  motion to dissolve the writ that the funds held by Garnishee were held in trust for

  Defendant’s clients (DE # 72 at 1-2).

         Based upon a review of the record as a whole, the undersigned finds that some of

  the post-judgment work Mr. Yarbrough performed on behalf of Mr. Bianchi was

  unnecessary and could have been avoided, had Mr. Yarbrough followed Florida writ of

  garnishment procedures. As Mr. Yarbrough contends, he was entitled to seek post-

  judgment satisfaction for his client (DE # 83 at 2-3). However, had Plaintiff afforded

  Defendant an opportunity to provide its rationale for dissolving the writ of garnishment



          5
            Federal procedure relating to writ of garnishments must accord with state procedure
  because the FDCPA does not specifically provide for garnishment procedures that would preempt
  state law . See Fed. R. Civ. P. 69(a)(1).

                                                 10
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 11 of 22



  instead of moving for judgment immediately upon Garnishee’s answer, Mr. Yarbrough

  could have avoided the time he invested preparing the motion for final judgment. Cf.

  Doden v. Plainfield Fire Prot. Dist., No. 96-2175, 1997 WL 137196 at *2-*4 (7th Cir. 1997)

  (disallowing fees for executing final judgment as unnecessary in an FLSA case when

  plaintiff was ready, willing and able to pay the final judgment). Therefore, the

  undersigned recommends striking the two time entries on July 14, 2010, concerning Mr.

  Yarbrough’s preparation and review of Plaintiff’s motion for final judgment, as well as the

  time entry reviewing Defendant’s opposition thereto on July 29, 2010, from Mr.

  Yarbrough’s requested hours as unnecessary due to his failure to follow Florida writ of

  garnishment procedures. These entries total 1.38 hours.6

                d.     General Reduction Based on TCPA

                Defendant argues that Plaintiff’s total hours, after the above noted

  deductions, should be reduced by an additional 50% because the TCPA does not provide

  for an attorney’s fees award, and Mr. Yarbrough spent significant time pursuing the TCPA

  claim (DE # 82 2-3). Based on his estimate of time spent on the TCPA claim, Mr.

  Yarbrough preemptively reduced his total hours requested by one-third in his motion for

  fees and costs and replies that no additional reduction is warranted, given that all of Mr.

  Bianchi’s claims arose from the same operative facts (DE # 74 at 2; 83 at 3). Based upon

  a review of the record as a whole, the undersigned finds that Mr. Yarbrough’s reduction

  of requested fees by one-third is reasonable and appropriate, and that no additional




          6
           The undersigned also recommends striking in connection w ith the writ of garnishment
  the entry for .05 hours on July 30, 2010, regarding review of Defendant’s docketing error, and
  includes it in the 1.38 hours total.

                                                 11
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 12 of 22



  general reduction is warranted.7 See Hensley, 461 U.S. at 434.

            E.     Calculating the Lodestar

            At this stage in the analysis, the lodestar may be computed after making the

  appropriate reduction in the number of hours expended. The lodestar equals $14,259.00,

  based upon a rate of $350 per hour and total hours expended of 40.74.

            F.     Adjustment to the Lodestar

                   1.     The Legal Standard

            While the calculation of the lodestar is a necessary component of the fee inquiry, it

  is not the only component. As an alternative or in addition to adjusting the number of

  hours used to calculate the lodestar, the Court may apply an after-the-fact reduction of

  the lodestar where the plaintiff achieved only partial or limited success, and this is true

  “even where the plaintiffs’ claims are ‘interrelated, non-frivolous and raised in good

  faith.’” Barker v. Niles Bolton Assocs., Inc., No. 07-15103, 2009 WL 500719, at *10 (11th

  Cir. Mar. 2, 2009) (quoting Hensley, 461 U.S. at 436). Thus, the Court retains the authority

  to review the hourly rate and attorney time for reasonableness based on the 12 so-called

  “Johnson factors.” See Farley v. Nationwide Mut. Ins. Co., 197 F.3d 1322, 1340-41 (11th

  Cir. 1999) (citing Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir.

  1974)).




            7
            The undersigned notes that although Defendant contends that a review of the trial
  transcript reflects that Mr. Yarbrough spent significant tim e trying Mr. Bianchi’s TCPA claim ,
  Defendant has provided only a conclusory statement regarding such time and has provided no
  other support for a general 50% reduction (DE # 82 at 2-3). Defendant’s objection lacks the
  requisite precision and specificity. Barnes, 168 F.3d at 428 (quoting Norman, 836 F.2d at 1301).

                                                  12
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 13 of 22



               2.        Analysis

        Based upon a review of the record as a whole, the undersigned concludes that it is

  not necessary to adjust the lodestar in this case. None of the parties has requested that

  the lodestar be adjusted. To the extent that Defendant might implicitly suggest a general

  downward adjustment based on Mr. Yarbrough’s efforts expended in support of the TCPA

  claim, the undersigned has concluded supra that such adjustment is unwarranted. The

  parties do not raise any other arguments in favor of adjustment and the undersigned

  raises none herein sua sponte. Thus, Plaintiff is entitled to a sum of attorney’s fees

  equal to $14,259.00.

        III.   COSTS

        Plaintiff seeks an award of costs in the amount of $5,675.86 (DE # 74 at 9; 76 Ex. A

  at 10-11). Defendant concedes that Plaintiff is entitled to some costs, but contests

  others, as set forth below. For the reasons that follow, the undersigned recommends that

  Plaintiff be awarded costs in the amount of $4,463.19, which consists of $2,422.74 in

  uncontested costs and $2,040.45 in contested costs of video depositions ($1,910.45) and

  writ of garnishment filing and processing ($130.00).

        A.     Legal Framework for Analysis

        A debt collector who violates the FDCPA is liable for “the costs of the action,

  together with a reasonable attorney’s fee as determined by the court.” 15 U.S.C.A. §

  1692k(a)(3) (West 2010). Such costs taxable by a court in an FDCPA suit are limited to

  those enumerated by statute, namely 28 U.S.C. § 1920. See Glenn v. Gen. Motors Corp.,

  841 F.2d 1567, 1574 (11th Cir. 1988) (discussing in an Equal Pay Act case the limiting of

  costs taxable by a court to those enumerated in 28 U.S.C. § 1920 absent explicit

                                               13
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 14 of 22



  statutory entitlement to a broader array of costs in the relevant act); U.S. E.E.O.C. v.

  W&O, Inc., 213 F.3d 600, 620 (11th Cir. 2000) (citing Crawford Fitting Co. v. J.T. Gibbons,

  Inc., 482 U.S. 437, 445 (1987)). Title 28, United States Code, Section 1920 provides:

                A judge or clerk of any court of the United States may tax as
                costs the following:
                       (1) Fees of the clerk and marshal;
                       (2) Fees for printed or electronically recorded
                       transcripts necessarily obtained for use in the
                       case;
                       (3) Fees and disbursements for printing and
                       witnesses;
                       (4) Fees for exemplification and the costs of
                       making copies of any materials where the
                       copies are necessarily obtained for use in the
                       case;
                       (5) Docket fees under section 1923 of [Title 28];
                       (6) Compensation of court appointed experts,
                       compensation of interpreters, and salaries, fees,
                       expenses, and costs of special interpretation services
                       under section 1828 of [Title 28].


  28 U.S.C.A. § 1920 (West 2010).

         B.     Uncontested Costs

         Defendant does not dispute that Plaintiff is entitled to an award of costs for the

  filing fee, the fee for service of process, deposition transcript costs and court reporter

  fees. These fees total $2,422.74. Based upon a review of the record as a whole, the

  undersigned agrees that these costs encompass expenses that were necessary for use in

  this case and are statutorily authorized under 28 U.S.C. § 1920.




                                                14
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 15 of 22



         C.     Contested Costs

         Defendant objects to $3,253.15 in costs, which consist of the categories of

  expenses discussed in more detail below. The undersigned recommends that Plaintiff be

  awarded costs for video depositions and writ of garnishment filing and processing

  (totaling $2,040.45) but not the mediator’s fee ($555.50) and costs for trial boards

  ($657.20).

                1.     Video Deposition Expenses

         Defendant objects to deposition fees ($1,910.45) based on Defendant’s assertion

  that Plaintiff did not identify the video deposition fees as such (but instead labeled them

  “video conferencing”),8 and Plaintiff has not satisfied his alleged burden of proving an

  independent, legitimate need for the video recording fees, separate from transcription

  fees (DE # 82 at 3). Plaintiff replies that Defense counsel indicated at the pretrial

  conference that Defendant’s corporate representative might be leaving Defendant’s

  employ and would be unable to testify at trial. Plaintiff contends that he, therefore,

  deposed the witness to preserve the testimony (DE # 83 at 7-8).

         The undersigned concludes that it is not appropriate to exclude these video

  deposition costs. The rule of this Circuit states that when no objection is raised at the

  time of a notice of deposition as to the means of recordation pursuant to Fed. R. Civ. P.

  26(c), costs may be awarded pursuant to 28 U.S.C. § 1920 for conducting the deposition

  in the manner noticed. Morrison v. Reichhold Chemicals, Inc., 97 F.3d 460, 464-65 (11th

  Cir. 1996) (disagreed with by Tilton v. Capital Cities/ABC, Inc., 115 F.3d 1471, 1478 n.4


          8
           The undersigned rejects this first component of the objection out of hand. W hile this
  cost w as labeled “video conferencing,” the detailed explanation in the Declaration immediately
  below the label identifies such “conferencing” as depositions (DE # 76 Ex. A at 10).

                                                  15
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 16 of 22



  (10th Cir. 1997), cited by Defendant as the controlling rule). Defendant does not note any

  objection it made to the notice of deposition at the time of notice, and Defendant does not

  argue that the deposition (irrespective of recordation method) was not necessarily for use

  in this case. The undersigned finds that the deposition was necessarily obtained for use

  in this case, as it was a deposition of Defendant’s corporate representative. Therefore,

  under the Morrison rule, these deposition costs are properly included in Plaintiff’s

  requested fees.


                2.     Mediation Expenses

         Defendant also objects to Plaintiff’s costs for mediation ($555.50), contending that

  they are not taxable (DE # 82 at 4). Plaintiff replies that the mediation was court-ordered

  (DE # 83 at 8). Mediation costs are not specifically enumerated in 28 U.S.C. § 1920, nor

  are they recognized in this Circuit as being taxable costs thereunder. See Gary Brown &

  Assocs., Inc. v. Ashdon, Inc., 268 Fed. Appx. 837, 845-46 (11th Cir. 2008) (affirming the

  denial of prevailing party’s request for, inter alia, mediation expenses as not recoverable

  under 28 U.S.C. § 1920). Furthermore, this rule has been applied to court-ordered

  mediation, with the supplemental rationale that equal burdening promotes good faith

  mediation while reducing financial concerns. Rivera Santiago v. Wm. G. Roe & Sons,

  Inc., No. 8:07-cv-1786-T-27MAP, 2010 WL 2985695, slip op. at 2 (M.D. Fla. July 28, 2010).

  Despite some conflict among circuits in this area, the undersigned finds that the Gary

  Brown & Assocs. rule precludes taxing Plaintiff’s mediation costs pursuant to 28 U.S.C. §

  1920. See Williams v. R.W. Cannon, Inc., 657 F.Supp.2d 1302, 1317-18 (S.D. Fla. 2009)

  (surveying conflicting case law among circuits as to allowable costs in FLSA cases and

  concluding that Gary Brown & Assocs. controls as binding precedent in this Court as to


                                               16
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 17 of 22



  allowable costs pursuant to 28 U.S.C. § 1920). The claim for the cost of mediation should,

  therefore, be denied.

                3.      Trial Board Expenses

                a.      The Parties’ Positions

         As clarified at the hearing, Plaintiff used six trial boards during the presentation of

  his case to the jury. Two trial boards contained reproductions of transcripts of telephone

  messages at issue in the case, and four trial boards contained a copy of Defendant’s

  account records. These items were all copies of documents that had been admitted into

  evidence as exhibits. Defendant argues that Plaintiff should not be awarded costs for

  preparation of trial boards ($657.20) because “exhibit costs” are not taxable in this Circuit

  (DE # 82 at 4). Plaintiff responds that the trial boards were used extensively to present

  his case to the jury (DE # 83 at 8).

                b.      Analysis

         In W&O, the Eleventh Circuit expressly held that “exhibit costs” are not taxable

  expenses. U.S. E.E.O.C. v. W&O, Inc., 213 F.3d 600, 622-23 (11th Cir. 2000). The Eleventh

  Circuit has clarified this ruling. Arcadian Fertilizer, L.P. v. MPW Indus. Servs., Inc., 249

  F.3d 1293 (11th Cir. 2001). Specifically, the Eleventh Circuit held that “oversize

  documents” and “color photographs” may be taxable as costs while “physical exhibits,”

  such as “models” and “charts,” are not taxable. Arcardian Fertilizer, 249 F.3d at 1296-98.

  The court reasoned that, given the strictly narrow reading of 28 U.S.C. § 1920 required by

  Crawford Fitting, taxable items must fit into the language of the statute.9     Taxable costs,


          9
           The court found that the former sets of items – oversized documents and color
  photographs – are encompassed in § 1920(4)’s language referring to “copies of paper” and,
  therefore, are taxable. The phrase “copies of papers” has since been amended. It was deleted in
  2008 and replaced with the phrase, “the costs of making copies of any materials.” Judicial

                                                 17
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 18 of 22



  however, must also be “necessarily obtained for use in the case.” 28 U.S.C.A. § 1920(4)

  (West 2010).

         Plaintiff states that he used his trial boards extensively at trial (DE # 76 Ex. A at 11)

  but does not dispute that they represented information that was otherwise already

  admitted into evidence. The undersigned notes that, in such circumstances, trial boards

  are demonstrative in nature, and are for the convenience of counsel in his presentation of

  Plaintiff’s case. The undersigned concludes that the trial boards were not “necessarily

  obtained for use in the case” and, therefore, in the exercise of discretion, the

  undersigned recommends that the request for the costs of the trial boards be denied on

  this basis. Thus, it is not necessary to reach the issue of whether trial boards are taxable

  under the Arcadian Fertilizer rule. 28 U.S.C.A. § 1920 (West 2010).

                 4.    Writ of Garnishment Costs

         Defendant objects to two costs associated with Plaintiff’s writ of garnishment

  actions, namely, Garnishee’s attorney’s fee ($100.00), submitted to the court by Plaintiff

  in accordance with Florida Statutes, Section 77.28, and the associated process server fee

  ($30.00), which total $130.00 (DE # 82 at 4; 76 Ex. A at 11). First, under Florida Statutes

  Section 77.28, a party applying for writ of garnishment must deposit into the court

  registry $100 to be used upon request by the garnishee to offset its attorney’s fees in

  responding to a writ. Fla. Stat. § 77.28 (2010). As an initial matter, the undersigned notes

  that filing fees are regarded as recoverable “docket fees” under 28 U.S.C. § 1920(5). See,




  Adm inistration and Technical Amendments Act of 2008, Pub. L. No. 110-406, § 6, 122 Stat. 4291
  (2008). The M iddle District of Florida has called into question the effect of this change on
  Arcadian Fertilizer, but the Eleventh Circuit has not yet addressed the effect of this amendment on
  the Arcadian Fertilizer rule. Durden v. Citicorp Trust Bank, FSB, No. 3:07-cv-974-J-34JRK, 2010
  W L 2105921, slip op. at 4 (M .D. Fla. April 26, 2010).

                                                  18
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 19 of 22



  e.g., James v. Wash Depot Holdings, Inc., 242 F.R.D. 645, 652 (S.D. Fla. 2007). The

  amount deposited into the court registry, as an initial filing cost required to be submitted

  upon application to the court, should be taxed. Alternatively, this cost represents an

  attorney’s fee for which Plaintiff became liable in seeking to execute judgment.

  Considered as attorney’s fees, the undersigned would apply the same analysis as it did

  supra in connection with Plaintiff’s request for hours expended for writ of garnishment

  attorney’s fees. Under such an analysis, the submission by Plaintiff of Garnishee’s

  attorney’s fee was necessary to Plaintiff’s initial reasonable actions taken to execute

  judgment. Under either analysis, the undersigned concludes that such fee should be

  taxed.

           Second, Plaintiff seeks reimbursement for the related process server fee in the

  amount of $30.00. As fees for service of process are also readily taxable under 28 U.S.C.

  § 1920, the undersigned concludes that the fee should be taxed. See, e.g., Monelus v.

  Tocodrian, Inc., 609 F.Supp.2d 1328, 1333 (S.D. Fla. 2009). Defendant appears to suggest

  that this fee should not be recoverable because Plaintiff’s writ of garnishment was

  unsuccessful (DE # 82 at 4). Defendant offers no authority, however, for such claim. At

  any rate, Monelus and other cases provide support for taxing process server fees.

           D.    Total Recommended Cost Award

           For the reasons stated above, the undersigned recommends that the Court award

  costs in the amount of $4,463.19, comprised of uncontested costs ($2,422.74), video

  deposition costs ($1,910.45) and garnishment costs ($130.00); and, that the Court

  disallow costs in the amount of $1,212.70, comprised of mediation fees ($555.50), and the

  cost of trial boards ($657.20).



                                                19
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 20 of 22



         IV.    SUPPLEMENTAL ATTORNEY’S FEES

         As previously stated, in his initial Motion, Plaintiff argued that he was entitled to

  attorney’s fees and costs incurred in litigating this Motion. Defendant did not oppose this

  request. Under the FDCPA, a prevailing party is entitled to fees incurred seeking to

  secure an attorney’s fees award. See Sheet Metal Workers’ Int’l Ass’n Local 15, AFL-CIO

  v. Law Fabrication, LLC, 237 Fed. Appx. 543 (11th Cir. 2007) (recognizing that “fees on

  fees” are ordinarily authorized under federal statutory fee-shifting provisions); Anchondo

  v. Anderson, Crenshaw & Associates, LLC, 616 F.3d 1098, 1107 (10th Cir. 2010) (awarding

  fees incurred defending on appeal an earlier fees award); Small v. Absolute Collection

  Serv., Inc., No. 04-61196-CIV-JORDAN, 2006 WL 6183287 (S.D. Fla. Mar. 23, 2006) (holding

  “fees on fees” were recoverable by Plaintiff in FDCPA case).

         On January 31, 2011, Plaintiff filed a Supplemental Declaration outlining fees

  incurred subsequent to filing his Verified Motion (DE # 84). Plaintiff has requested in his

  Supplemental Declaration an award for 6.38 additional hours (DE # 84 at 2). Plaintiff

  included time entries totaling 1.16 hours for activities related to the writ of garnishment

  against Garnishee (DE # 84 Ex. A at 2). Upon a review of the record as a whole, and for

  the reasons stated above, the undersigned recommends that the additional claim for the

  costs associated with Plaintiff’s improvidently sought writ of garnishment be denied

  because the award recommended supra already includes reasonable fees for such

  actions.

         With respect to the claim regarding 5.22 hours of time spent in drafting the Motion

  for Attorney’s Fees and the Reply, the undersigned finds that this amount of time is

  excessive. Based upon a review of the litigation concerning the award of fees and costs,

  the undersigned has determined that a reasonable amount of time to have spent in

                                                20
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 21 of 22



  connection with the litigation regarding fees is approximately 4 hours. Therefore, the

  amount claimed is reduced by 1 1/4 hours.

         Based upon the foregoing analysis, the undersigned finds that an additional award

  of 3.97 hours is appropriate. At the recommended rate of $350 per hour, this additional

  recommended award totals $1,389.50.

         V.     CONCLUSION

         In sum, based upon a review of the record as a whole, and considering the

  arguments of counsel and the experience of the Court, the undersigned finds and

  concludes that a reasonable attorney’s fee, which should be awarded in the case at bar,

  is the total amount of $15,648.50, comprised of $14,259.00 for 40.74 hours of work

  performed in the underlying case at an hourly rate of $350.00; and, $1,389.50 for 3.97

  hours of work performed in the litigation over the award of fees and costs. In addition,

  the undersigned finds and concludes that costs in the total amount of $4,463.19 should

  be awarded. Therefore, based upon a review of the record as a whole and for the reasons

  stated above, it is hereby

         RECOMMENDED that Plaintiff’s Verified Motion for an Award of Costs and

  Attorney’s Fees (DE # 74) be GRANTED IN PART AND DENIED IN PART, and that

  Plaintiff be awarded attorney’s fees in the amount of $15,648.50 and costs in the amount

  of 4,463.19, for a total award of $20,111.69.

         Pursuant to S.D. Fla. Magistrate Judge Rule 4(a), the parties shall have 14 days

  from the service of this Report and Recommendation to file written objections to this

  Report and Recommendation. Failure to file objections timely shall bar the parties from

  attacking on appeal any factual findings contained herein. RTC v. Hallmark Builders,



                                                  21
Case 0:09-cv-61164-UU Document 86 Entered on FLSD Docket 02/02/2011 Page 22 of 22



  Inc., 996 F.2d 1144, 1149 (11th Cir. 1993); LoConte v. Dugger, 847 F.2d 745 (11th Cir.

  1988).

           DONE AND SUBMITTED in chambers in Miami, Florida on February 2, 2011.




                                                    ANDREA M. SIMONTON
                                                    UNITED STATES MAGISTRATE JUDGE

  Copies furnished via CM/ECF to:
  The Honorable Ursula Ungaro,
         United States District Judge
  All counsel of record




                                               22
